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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the OIL RIG MDL NO. 2179
“DEEPWATER HORIZON”
in the GULF OF MEXICO SECTION: J

on APRIL 20, 2010

JUDGE BARBIER
This Document Relates to:

Xuan V. Nguyen, et al. v.

BP Exploration and Production,
Inc., et al.

EDLA No. 10-3170

MAG. JUDGE SHUSHAN

(G7 607 60) CO) 607 67 607 1) 6) 6 6

ORDER ON PLAINTIFFS’ MOTION FOR LEAVE OF
COURT TO VOLUNTARILY DISMISS CLAIMS WITHOUT PREJUDICE

Considering the foregoing Motion,

IT IS HEREBY ORDERED that Piaintiffs’ NGUYEN VO, THANH VO, KATIE
PHAM, PHAN CAO, BAY TRAN, SU PHAM, UT VO, VICKI LY, HUY LE, and HOAI
NGUYEN'’S Motion for Leave of Court to Voluntarily Dismiss Claims Without Prejudice
is hereby in all things is GRANTED.

1T IS FURTHER ORDERED THAT that the claims of Plaintiffs’ NGUYEN VO,
THANH VO, KATIE PHAM, PHAN CAO, BAY TRAN, SU PHAM, UT VO, VICKI LY,
HUY LE, and HOAI NGUYEN only, as listed on Exhibit “A” attached to said Motion are
hereby dismissed without prejudice. This Order in no way affects the claims of the
remaining Plaintiffs in this Civil Action.

New Orleans, Louisiana, this day of , 2011.

HONORABLE CARL J. BARBIER
